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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROCHE CYRULNIK FREEDMAN LLP,                              Case No. 1:21-cv-01746-JGK

                      Plaintiff,
                                                          JOINT RULE 26(f) REPORT AND
       v.                                                 DISCOVERY PLAN

JASON CYRULNIK,

                      Defendant.


JASON CYRULNIK,

                      Counterclaim-Plaintiff,

       v.

ROCHE CYRULNIK FREEDMAN LLP, KYLE
ROCHE, DEVIN FREEDMAN, AMOS
FRIEDLAND, NATHAN HOLCOMB, and
EDWARD NORMAND,

                      Counterclaim-Defendants.



       Pursuant to the Court’s February 28, 2022 Order (Dkt. No. 69), Plaintiffs/Counterclaim-

Defendants and Defendant/Counterclaim-Plaintiff (together, the “Parties”) jointly submit this Rule

26(f) report. Pursuant to Federal Rule of Civil Procedure 26(f), counsel for the Parties met-and-

conferred telephonically on March 14, 2022, and continued conferring by e-mail thereafter.
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                                       DISCOVERY PLAN

   (1) What changes should be made in the timing, form, or requirement for disclosures
       under Rule 26(a), including a statement of when initial disclosures were made or
       will be made.

       The Parties agree that discovery is to be conducted in accordance with the Federal Rules

of Civil Procedure and the Local Rules of the United States District Courts for the Southern and

Eastern Districts of New York (the “Local Rules”). The Parties shall make their respective Rule

26(a)(1) initial disclosures no later than April 4, 2022.

   (2) The subjects on which discovery may be needed, when discovery should be
       completed, and whether discovery should be conducted in phases or be limited to or
       focused on particular issues.

       Plaintiff/Counterclaim-Defendants states that they intend to seek discovery into, among

other things (i) the process leading to Cyrulnik’s decision to join Roche Freedman LLP ; (ii) the

drafting, negotiation, and interpretation of the Parties’ Memorandum of Understanding; (iii) the

allegations in Plaintiff’s Amended Complaint concerning Cyrulnik’s misconduct that justified his

removal for cause; (iv) the allegations in Cyrulnik’s Corrected Answer to Plaintiff’s Amended

Complaint and Counterclaims that he was the victim of a “deplorable scheme” and conspiracy

among the Founding Partners to “steal” his assets; (viii) the allegations in Plaintiff’s Amended

Complaint concerning Cyrulnik’s refusal to provide his billable records; and (ix) the allegations

in Plaintiff’s Amended Complaint concerning Cyrulnik’s tortious interference with, and failure

to assist Plaintiff in, collecting money owed for services rendered to clients originated by

Cyrulnik.

       Defendant/Counterclaim-Plaintiff states that he intends to seek discovery into, among

other things, (i) the drafting, negotiation and interpretation of the Parties’ Memorandum of

Understanding; (ii) Defendant/Counterclaim-Plaintiff’s status as a founder and partner of


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Plaintiff/Counterclaim-Defendant RCF; (iii) the allegations in RCF’s complaint concerning

Defendant/Counterclaim-Plaintiff’s conduct over “an approximately one-year period” that

allegedly justified Counterclaim-Defendants’ actions; (iv) the facts and circumstances leading up

to, during and after the purported termination of Defendant/Counterclaim-Plaintiff as a partner of

RCF; (v) Plaintiff/Counterclaim-Defendants’ assertion that “cause” existed to terminate

Defendant/Counterclaim-Plaintiff as a partner of RCF; (vi) Defendant/Counterclaim-Plaintiff’s

allegations that Plaintiff/Counterclaim-Defendants breached the MOU and Side Letter, and

breached their fiduciary duties; (vii) Defendant/Counterclaim-Plaintiff’s allegations that

Plaintiff/Counterclaim-Defendants converted Defendant/Counterclaim-Plaintiff’s equity assets

and were unjustly enriched by virtue of their alleged improper conduct; (viii) Counterclaim-

Defendants’ alleged unlawful conspiracy; (ix) the value of Defendant/Counterclaim-Plaintiff’s

equity interest in RCF; (x) the Tokens; and (xi) Plaintiff/Counterclaim-Defendants’ allegations

that Defendant/Counterclaim-Plaintiff breached his fiduciary obligations following his purported

termination from RCF, including RCF’s billing practices and communications with

Defendant/Counterclaim-Plaintiff’s clients.

       The Parties have been unable to agree on a schedule for the case. Consequently, each

party has included their proposed pre-trial schedule for the Court’s consideration below.

       Plaintiff and Counter-Defendants would like trial to occur this calendar year and propose

the following schedule:


                            EVENT                                PROPOSED DEADLINE
    Serve initial disclosures                                           April 4, 2022

    Serve initial document requests & initial interrogatories          April 11, 2022



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    Serve objections and responses to initial document          30 days after service of initial
    requests                                                         document requests

    Substantial completion of document productions                       June 6, 2022

    Privilege Logs                                                      June 16, 2022

    Conclude fact discovery                                             August 1, 2022

    Serve opening expert reports, if any                               August 15, 2022

    Serve rebuttal expert reports, if any                            September 12, 2022

    Conclude expert depositions                                        October 3, 2022

    Pre-motion summary judgment letters due                           October 10, 2022

       Defendant and Counterclaim-Plaintiff does not believe that a period of just over three

months from initial document requests for the completion of all fact discovery, and a trial in this

calendar year, is realistic, and accordingly proposes the following schedule:


                            EVENT                                PROPOSED DEADLINE
    Serve initial document requests & initial interrogatories           April 11, 2022

    Serve objections and responses to initial document          30 days after service of initial
    requests                                                         document requests

    Serve initial disclosures                                            April 4, 2022

    Substantial completion of document productions                      August 4, 2022

    Privilege Logs                                                     August 11, 2022

    Conclude fact discovery                                          December 16, 2022

    Serve opening expert reports, if any                               January 20, 2023

    Serve rebuttal expert reports, if any                               March 3, 2023

    Conclude expert depositions                                          April 4, 2023

    Pre-motion summary judgment letters due                             April 24, 2023

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       The Parties further propose that interim fact discovery deadlines for initial disclosures,

interrogatories and responses, document requests and responses, and document productions may

be extended by the written consent of all Parties without application to the Court, provided that

the Parties do not extend such deadlines beyond the date for completion of all fact discovery.

Moreover, notwithstanding the deadlines set forth herein, nothing shall prohibit the Parties from

seeking additional discovery based on newly learned information.

   (3) Any issues about disclosure, discovery, or preservation of electronically stored
       information, including the form or forms in which it should be produced.

       The Parties anticipate the need for electronic discovery and have taken steps to ensure the

preservation of relevant documents and electronically stored information (“ESI”). The Parties

are working on the form of a standard protocol for production of ESI. The Parties have not

identified any other issues that require this Court’s attention.

   (4) Any issues about claims of privilege or of protection as trial-preparation materials,
       including – if the parties agree on a procedure to assert these claims after
       production – whether to ask the court to include their agreement in an order under
       Federal Rule of Evidence 502.

       Subject to modification by the Parties, all claims of privilege or protection as trial-

preparation materials, as well as the production of any information subject to such claims, shall

be governed by Rule 26(b)(5) of the Federal Rules of Civil Procedure and a Protective Order that

the Parties will submit to govern this action, which will include an order pursuant to Federal

Rule of Evidence 502.

   (5) What changes should be made in the limitations on discovery imposed under these
       rules or by local rule, and what other limitations should be imposed.

       None.

   (6) Any other orders that the court should issue under Rule 26(c) or under Rule 16(b)
       and (c).


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       None.

Dated: March 18, 2022

 KAPLAN HECKER & FINK LLP                        KASOWITZ BENSON TORRES LLP

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 Defendants Roche Freedman LLP and
 Counterclaim-Defendants Kyle Roche, Devin
 Freedman, Amos Friedland, Nathan Holcomb
 and Edward Normand


SO ORDERED.

Dated: March ___, 2022
       New York, New York

                                                    JUDGE JOHN G. KOELTL
                                                    United States District Judge




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